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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 8:16CR64
                                              )
       vs.                                    )                  ORDER
                                              )
DOMINGO RIVERA,                               )
                                              )
                     Defendant.               )


       This matter is before the court on the motion of defendant Domingo Rivera (Rivera) for
bond review (Filing No. 32). Rivera was released on conditions on March 4, 2016 (Filing No.
28). One of the conditions required Rivera to not leave Hall County, Nebraska, unless pre-
approved by Pretrial Services. Rivera requests that this condition be lifted so as to travel
throughout central Nebraska pursuant to his construction business. The motion is granted
to the extent that Filing No. 28 is modified that Rivera‘s travel is limited to the State of
Nebraska pursuant to Rivera’s construction business.
       IT IS SO ORDERED.


       DATED this 3rd day of August, 2016.


                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken

                                                  United States Magistrate Judge
